Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 1 of 45

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

LOUIS NAIMAN, individually and on behalf
of all others similarly situated,

Petitioners, [ LE K DO.

WILLIAM LOFTUS, SIDNEY NAIMAN and Case No. ‘ | q
|: -me- 04

RESOURCE MARKETING CORP.

       

Respondent.

 

Eby
Our ey E

 

loin 2 CLOcK

NOTICE OF PETITIONER’S MOTION FOR ORDER TO REQUIRE
RESPONDENT RESOURCE MARKETING CORP. TO PRODUCE DOCUMENTS
PURSUANT TO SUBPOENA AND INCORPORATED MEMORANDUM OF LAW

PLEASE TAKE NOTICE that petitioners William Loftus, Sidney Naiman, and Louis
Naiman hereby move, pursuant to Rules 45 and 37! of the Federal Rules of Civil Procedure, for
an Order enforcing the petitioners’ Subpoena to Produce Documents, served upon the respondent
by in-hand service. Despite being served, and acknowledging receipt of such service, Resource
Marketing Corp. (“Resource Marketing”) has failed to provide a response or any of the requested
documents.

Please take further notice that in accordance with LR 7.1(b)(2), respondent’s opposition
papers, if any, must be filed and served on counsel no fewer than 17 days prior to the return date
of this motion.

The petitioners made a good faith effort to resolve the issues set forth in this motion, as

detailed below and stated in the Declaration of Anthony Paronich, attached as Exhibit 1.

 

' As this is a motion pursuant to Fed. R. Civ. P. 37 to compel discovery, the petitioners have
incorporated a memorandum of law. See LR 7.1(a)(1)(D).

 

 
 

Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 2 of 45

Backeround of the Underlying Action

 

The Telephone Consumer Protection Act (“TCPA”) bars calls to cell phones using an
artificial telephone dialing system (“ATDS”) and/or an artificial or prerecorded voice. 47 U.S.C.
§ 227(b)(1). The TCPA also bars also unsolicited telemarketing to residential (including cellular)
telephone numbers on the National Do Not Call Registry (“NDNCR”). 47 U.S.C. 3 227(c); 47
C.F.R. § 64.1200(c)(2). Prior express consent is an affirmative defense to these claims. Van
Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037, 1044 (9th Cir. 2017). If the calls are for
telemarketing purposes, the defendant must prove “prior express written consent,” a term of art
requiring, among other things, that the allegedly consenting party was informed that calls would
be made by ATDS and that an individual needn’t consent to them in order to buy anything. 47
C.F.R. § 64.1200(f\(8); In re Rules & Regulations Implementing the Telephone Consumer
Protection Act of 1991,27 FCC Red. 1830, 1844 9 33 (2012) (“2012 FCC Order”). FCC
regulations “generally establish that the party on whose behalf a solicitation is made bears
ultimate responsibility for any violations.” Jn re Rules & Regulations Implementing the
Telephone Consumer Protection Act of 1991, 10 FCC Red. 12391, 12397 § 13 (1995); accord In
re Dish Network, LLC, 28 FCC Red. 6574, 6574 9 1 (2013).

In the underlying putative class action, petitioners William Loftus, Sidney Naiman, and
Louis Naiman allege that Sunrun Inc. (“Sunrun”) and its agents, including Resource Marketing,
made telemarketing robocalls to them and thousands of others in violation of the foregoing
provisions of the TCPA. See Paronich Decl. at § 4, First Am. Compl. Injunction and Damages,
attached as Exhibit A. Mr. Loftus also alleges that Sunrun recorded cellular conversations with
him and his fellow Californians without their consent, in violation of the California Invasion of

Privacy Act (“CIPA”), Cal. Penal Code § 632.7. The petitioners allege that vendors are actively

 
Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 3 of 45

involved in Sunrun’s telemarketing. History supports this as Sunrun recently settled a TCPA

class action where evidence of a vendor's intimate involvement in Sunrun’s telemarketing was

brought to light. Pls.” Mem. P&A Supp. Pls.’ Mot. Class Certification at ECF 2, 7, 9, 10, 14, 16,

18, 20, Slovin v. Sunrun Inc., Case No. 4:15-cv-05340-YGR (N.D. Cal. Dec. 8, 2017), ECF No.

159.

The Subpoena was Served, Receipt was Acknowledged and No Response was Made

The petitioners propounded a subpoena on Resource Marketing Corp. on August 7, 2019.
See Paronich Decl. at § 5. As such, the subpoena response was due August 21, 2019. Jd. Counsel
for the petitioners contacted Resource Marketing on August 23, 27 and 29, 2019 and did not
receive a response. /d. at § 6. On August 29, 2019, counsel for petitioners received a voicemail
from Resource Marketing, which stated “I know we did receive [the subpoena], it was served to
us. However, | think it was lost somewhere. So, if you could just do us a huge favor and
resend...that would be greatly appreciated”. /d. at 47. That same day. counsel for petitioners
sent a copy of the subpoena over via e-mail. /d. at | 8. Resource Marketing did not respond to the
subpoena. /d. at | 9. Counsel for petitioners conferred again with Resource Marketing who
informed him that Resource Marketing was represented by counsel, who they claimed they were
unable to identify, but a response to the subpoena would be made by September 6, 2019. /d. at §
10.

Resource Marketing has not responded to the subpoena. /d. at 11.

The Documents Requested are Necessary to the Underlying Litigation
The iene seeks documents relevant to the petitioners claims against Sunrun in the

underlying action.

 
 

 

Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 4 of 45

First, Request No. | seeks records of autodialed or pre-recorded calls during the putative
class period, September 1, 2018 through the present. This information is relevant because the
logs of the calls during the class period will be essential documents used in proving the prima
facie TCPA claims. Moreover, in putative TCPA class actions, classwide calling data is relevant
to numerosity, commonality and typicality. F.g. Gossett v. CMRE Fin. Servs., 142 F. Supp. 3d
1083, 1086-87 (S.D. Cal, 2015), Relatedly, Request 3 seeks recordings of those calls. Recordings
of the calls made by Resource Marketing will identify if Sunrun, though its agent, complied with
CIPA.

Next, the subpoena seeks information that identify the specifics of the dialing system that
was used to make the calls. See Requests 2 and 3. Whether a dialer is an ATDS is an element of
the 47 U.S.C. § 227(b)(1) claims and is frequently a hotly contested factual question in TCPA
cases. See, e.g., Marks v. Crunch San Diego, LLC, 904 F.3d 1041, 1043-53 (9th Cir. 2018).

The subpoena then seeks information regarding Resource Marketing Corp.’s process for
obtaining phone numbers and any alleged consent they maintained. Relatedly, it asks about
Resource Marketing Corp.’s process for having clear and conspicuous disclosures, required for
prior express written consent. 47 C.F.R. § 64.1200(f)(8); 2012 FCC Order, 27 FCC Red. at 1844
§ 33. Prior express written consent signed in compliance with the E-SIGN Act is also sought and
relevant because callers may use E-S!1GN-compliant signatures in lieu of wet-ink signatures.
2012 FCC Order, 27 FCC Red, at 1844 4 34. Courts routinely grant similar discovery requests.
E.g., Thrasher v. CMRE Fin. Servs., No. 14-CV-1 540 BEN (NLS), 2015 U.S. Dist. LEXIS
34965, at *10-16 (S.D. Cal. Mar. 13, 2015); Stemple v. QC Holdings, Inc., No. 12-cv-1997-CAB
(WVG), 2013 U.S. Dist. LEXIS 99582, at *22 (S.D. Cal. June 17, 2013). TCPA-violating lead

generators have taken to creating a veneer of consent through ostensible online opt-ins to
Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 5 of 45

telemarketing robocalls. Petitioners and their digital forensic expert will analyze the logs of any
such websites, because such opt-ins are frequently the handiwork of fraud by online marketing
“affiliates.” See, e.g., McCurley v. Royal Seas Cruises, Inc., 331 F.R.D. 142, 176-77 (S.D. Cal.
2019) (certifying TCPA class action, acknowledging possibility that online leads were bogus);
Berman v. Freedom Fin. Network, LLC, No. 18-cv-01060-YGR, 2019 U.S. Dist. LEXIS 25382
(N.D. Cal. Feb. 15, 2019) (denying motion to strike putative TCPA class claims, acknowledging
possibility that online lead was bogus). However, that analysis cannot be performed without
these documents.

Request No. 8 seeks documents relating to the petitioners themselves. This information is
clearly relevant because it is reasonably calculated to lead to information about how many times
petitioners were called, via what dialer, pursuant to what (if any) purported consent, and with
how much knowledge or willfulness. This information may also be relevant to typicality under
Rule 23. Furthermore, the petitioners would have had virtually no interaction with the respondent
unrelated to telemarketing, so every document that exist would be relevant as this is not a case
where the petitioners had an existing business relationship, it’s a solicitation lawsuit.

Finally, the subpoena seeks any complaints, demand letters or internal correspondence
relating to Sunrun. Correspondence is relevant because it will reflect the degree of control
Sunrun enjoys over Resource Marketing, which is relevant to vicarious liability. Indeed, a class
certification brief in a prior Sunrun cites at least half a dozen email exchanges between Sunrun
and a vendor similar to Resource Marketing. Similarly, if Resource Marketing was receiving
complaints regarding its telemarketing practices, Sunrun would have been placed to actual or

constructive notice of TCPA violations.
 

Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 6 of 45

Conclusion

Resource Marketing Corp. was validly served with a subpoena for documents relating to
the petitioners’ underlying claims. They have acknowledged service of that subpoena, however.
they have not complied with the response date or their unilateral extension of time to respond.
The petitioners have also demonstrated why each request is relevant to the underlying claims.

As such, this Court should require Resource Marketing Corp. to provide all requested
documents within 14 days after its Order and advise that Resource Marketing Corp. that its
failure to comply may result in the imposition of sanctions pursuant to Fed. R. Civ. P. 45(z). A

proposed Order is attached as Exhibit 2.

Respectfully submitted,
BELLIN & ASSOCIATES LLC

By: hy xan, :

Dated: September 11, 2019 By: Aytdn y. Bell¥n, Esq.
50 Main Street, Suite 1000
White Plains, New York 10606
Tel: (914) 358-5345-2400
Fax: (212) 571-0284
Email: aytan.bellin‘@bellinlaw.com

Anthony I. Paronich, Subject to Pro Hac Vice
anthony(@bparonichlaw.com

PARONICH LAW, P.C.

350 Lincoln Street, Suite 2400

Hingham, Massachusetts 02043

Telephone: (617) 485-0018

Facsimile: (508) 318-8100

 
Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 7 of 45

EXHIBIT 1

 
Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 8 of 45

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

WILLIAM LOFTUS, SIDNEY NAIMAN and Case No.
LOUIS NAIMAN, individually and on behalf
of all others similarly situated,

Petitioners,

RESOURCE MARKETING CORP.

Respondent.

 

 

AFFIDAVIT OF ANTHONY PARONICH IN SUPPORT OF
PETITIONER’S MOTION FOR ORDER TO REQUIRE RESPONDENT
RESOURCE MARKETING CORP, TO PRODUCE DOCUMENTS
PURSUANT TO SUBPOENA AND INCORPORATED MEMORANDUM OF LAW

I, Anthony I. Paronich, being duly sworn, deposes and states as follows:

L. The facts stated in this affidavit are within my personal knowledge and are true
and correct. I am over 18 years of age, have never been convicted of a felony, and am competent
to make this affidavit.

2. | am the founder of the law firm-of Paronich Law, P.C. in the Commonwealth of
Massachusetts. My business address is 99 High Street, Suite 2400, Boston, Massachusetts
02110. My telephone number is 508.221.1510. My facsimile number is 617.830.0327. My
email address is anthonvidparonichlaw.com.

3. I make this affidavit in support of the petitioner’s Motion for Order to Require

Respondent Resource Marketing Corp.to produce documents pursuant to subpoena and

incorporated memorandum of law.

 
Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 9 of 45

4. Petitioners William Loftus, Sidney Naiman, and Louis Naiman allege that Sunrun
Inc. (“Sunrun”) and its agents, including Resource Marketing, made telemarketing robocalls to
them and thousands of others in violation of the foregoing provisions of the TCPA. A copy of the
Amended Complaint in the underlying action is attached as Exhibit A. In discovery, SunRun has
identified Resource Marketing Corp. as one of the entities involved in contacting the Plaintiff.

3. The petitioners propounded a subpoena on Resource Marketing Corp. on August

7, 2019. See Subpoena attached as Exhibit B, Affidavit of Service attached as Exhibit C. As

 

such, the subpoena response was due August 21, 2019,

6, I contacted Resource Marketing on August 23, 27 and 29, 2019 and did not
receive a response.

i: On August 29, 2019, | received a voicemail from Resource Marketing, which
stated “I know we did receive [the subpoena], it was served to us. However, I think it was lost
somewhere. So, if you could just do us a huge favor and resend...that would be greatly
appreciated”.

8. That same day, counsel for petitioners sent a copy of the subpoena over via e-
mail.

9, Resource Marketing did not respond to the subpoena.

10. Counsel for petitioners conferred again with Resource Marketing who informed
him that Resource Marketing was represented by counsel, who they claimed they were unable to
identify, but a response to the subpoena would be made by September 6, 2019.

11. Resource Marketing has not responded to the subpoena.

 
 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 10 of 45

Further affiant sayeth naught.

Sworn to and subscribed in Plymouth, Massachusetts this 9" day of September, 2019.

Anthony Paronich

 

 
Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 11 of 45

EXHIBIT A

 
bo

2 SS =) Tf Ww &

 

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 12 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 1 of 23

Jon B. Fougner (State Bar No. 314097)
jon(@)fougnerlaw.com

600 California Street, 11th Floor

San Francisco, California 94108
Telephone: (415) 577-5829

Facsimile: (206) 338-0783

[Additional counsel appear on signature page|

Attorneys for Plaintifis William Loftus, Sidney
Naiman, Louis Naiman and the Proposed

Classes
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION
WILLIAM LOFTUS, SIDNEY NAIMAN Case No. 3:19-cv-01608-YGR

and LOUIS NAIMAN, individually and on

behalf of all others similarly situated,
FIRST AMENDED COMPLAINT FOR

INJUNCTION AND DAMAGES
Plaintiffs,

Class Action

SUNRUN INC. and MEDIA MIX 365,
LLC, and DOES 1-10, JURY TRIAL DEMAND

Complaint Filed: March 27, 2019
Defendants.

 

 

Plaintiffs William Loftus, Sidney Naiman and Louis Naiman, by their undersigned
counsel, for this first amended class action complaint against Defendants Sunrun Inc. (“Sunrun”)
and Media Mix 365, LLC (“Media Mix”) and their present, former and future direct and indirect
parent companies, subsidiaries, affiliates, agents and related entities, allege as follows:

I. INTRODUCTION
1. Nature of Action: This case arises from Defendants’ unsolicited telemarketing in

violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), and their non-

Pel
FIRST AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 
10
11
12
13
14
15
16
17
18
19

20)

 

Case 1:19-mc-00046-LEK-DJS Document1 Filed 09/12/19 Page 13 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 2 of 23

consensual recording of cellular communications in violation of the Califormia Invasion of
Privacy Act (“CIPA”), Cal. Penal Code § 632.7.

2. The telemarketing was conducted using automated telephone dialing systems
(“ATDSs”), a tactic among those that inspired Congress to enact the TCPA and that most
infuriate consumers to this day.

3. The telemarketing targeted, among other phone lines, cellular telephones and
numbers listed on the National Do Not Call Registry (“NDNCR”).

4. For every 7,000,000 robocalls, there’s only one TCPA lawsuit in federal court.
Compare Herb Weisbaum, /t's Not Just You—Americans Received 30 Billion Robocalls Last
Year, NBC News (Jan. 17, 2018), https://www-.nbenews.com/business/consumer/it-s-not-just-
you-americans-received-30-billion-robocalls-n838406 (30.5 billion robocalls); with WebRecon,
WebRecon Stats for Dec 2017 & Year in Review (last visited Oct. 29, 2018),
https://webrecon.com/webrecon-stats-for-dec-2017-year-in-review/ (4,392 TCPA complaints).

>. Demonstrating the massive scope of its robocalling, Sunman has lost this |-in-
7,000,000 lottery repeatedly, being sued under the TCPA time and again. E.g., Notice Removal,
Saunders v. Sunrun, Inc., Case No. 1:19-cv-3127 (N.D. Ill. May 9, 2019), ECF No. 1; Compl.,
Ewing v. Encore Solar, LLC, Case No. 3:18-cv-02247-CAB-MDD (S.D. Cal. Sept. 27, 2018),
ECF No. 1; Notice Removal, Va v. Suarun Inc., Case No, 1:18-cv-00856-JHR-KBM (D.N.M.
Sept. 12, 2018), ECF No. 1; Notice Removal, Barker v. Sunrun Inc., Case No. 1:18-cv-00855-
KK-LF (D.N.M. Sept. 12, 2018), ECF No. 1; Compl., Taylor v. Sunrun Inc., Case No. 5:18-cv-
01207-JGB-SHK (C.D. Cal. June 5, 2018), ECF No. 1; Compl., Knapp v. Sunrun, Inc., Case No.
2:18-cv-00509-MCE-AC (E.D. Cal. Mar. 8. 2018), ECF No. 1; Compl., Bozarth v. Sunrun, Inc.,
Case No. 3:16-cv-3550-EMC (N.D. Cal. June 24, 2016), ECF No. 1; Compl., Slovin v. Sunrun,
Ine., Case No, 4:15-cv-05340-YGR (N.D. Cal. Nov. 20, 2015), ECF No. |.

6. The core business of Media Mix, meanwhile, is illegal, unsolicited telemarketing to
generate solar leads, including to consumers on the NDNCR, in violation of the TCPA and other

federal law. See generally Compl., United States v. Media Mix 365, LLC, Case No. 8:19-cv-

eh
First AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 

 
 

Lan a fag ho

=) oo ~~] a

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 14 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 3 of 23

01243-GW-JEM (C.D. Cal. June 21, 2019), ECF No. 1; Stipulation Entry Order Permanent
Injunction and Civil Penalty Judgment, id. (C.D. Cal. June 21, 2019), ECF No. 2.
ll. PARTIES

7. Plaintiff Loftus is an individual.

8. He resides in Ventura County, California.

9. Plaintiff Sidney Naiman is an individual.

10. He resides in Maricopa County, Arizona.

11. Plaintiff Louis Naiman is an individual.

12. He resides in Clark County, Nevada.

13. Sunrun is a corporation.

14. It is a Delaware corporation.

15. Its principal place of business is 595 Market Street, 29th Floor, San Francisco,
Califorma 94105.

16. Media Mix is an LLC.

17. It is a California LLC.

18. Its principal place of business is 4 Hutton Centre Drive, Suite 200, Santa Ana,
California 92707.

Hi. JURISDICTION AND VENUE

19. Jurisdiction: This Court has federal-question subject matter jurisdiction over
Plaintiffs’ TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA 1s a federal statute. 47
U.S.C. § 227; Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). The Court has
supplemental jurisdiction over Plaintiffs’ CIPA claims pursuant to 28 U.S.C. § 1367 because the
CIPA violations are so related to the TCPA violations—arising from the same telemarketing
calls—as to form part of the same case or controversy.

20). Personal Jurisdiction: This Court has personal jurisdiction over Defendants because:

a. they are headquartered in California;
b. their conduct at issue was organized from their California headquarters;
and
24

First AM. COMPL.
Loftus v. Sunrun Inc., Case No, 3:19-cv-01608-YGR

 

 
Oo 8 =) GO RA oe ke BR ee

ee ee
oe —) Gk tu & WwW NH =

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 15 of 45
Case 3:19-cv-01608-RS Document36 Filed 06/26/19 Page 4 of 23

i, Defendants’ conduct at issue intentionally targeted Plaintiff Loftus, a
California resident, while he was in California, at his cellular telephone number, which bears a
California area code.

21. Venue: Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2)
because a substantial part of the events giving rise to Plaintiffs’ claims—namely, the direction of
the illegal telemarketing and illegal recording from Sunrun’s headquarters—occurred in this
District.

22. Intradistrict Assignment: Assignment to this Division is proper pursuant to Civil
Local Rule 3-2(c) because a substantial part of the events or omissions that give rise to Plaintiffs’
claims—namely, the direction from Sunrun’s headquarters of the illegal telemarketing and of the
illegal recording—occurred in San Francisco,

IV. FACTS
A. — California’s Ban on Nonconsensual Recording of Calls with Cellular Telephones

23, The Right of Privacy: The California State Legislature passed CIPA in 1967 to
protect the right of privacy of the people of California. Secret recording “can warrant the
imposition of criminal penalties, suggesting the California legislature, and perhaps an ordinary
person, would view it to be highly offensive.” Safari Club Int'l v. Rudolph, 845 F.3d 1250, 1267
(9th Cir. 2017). “In enacting the Privacy Act, the Legislature declared in broad terms its intent to
protect the right of privacy of the people of this state from what it perceived as a serious threat to
the free exercise of personal liberties that cannot be tolerated in a free and civilized society.”
Flanagan v. Flanagan, 41 P.3d 575, 581 (Cal. 2002) (internal quotation marks and alteration
marks omitted). Accordingly, “courts are required to liberally construe section 632 to effectuate
the important public policy ensuring telephonic privacy.” Kight v. CashCaill, Inc., 179 Cal. Rptr.
3d 439, 454 (4th App. Dist. 2014).

24, Constitutional Roots: Californians have a constitutional right to privacy. The
California Supreme Court has linked the constitutionally protected right to privacy with the

intent and provisions of CIPA.

niin
First AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 
bo

Lh de La

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 16 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 5 of 23

25. Updated for Cell Phones: California Penal Code section 632.7 was added to CIPA in
1992. Section 632.7 prohibits intentionally recording communications involving cellular or
cordless telephones.

26. No Retroactive Consent: California Penal Code section 632.7 is violated the moment
a recording of a cellular or cordless conversation is made without the consent of all parties
thereto, regardless of whether recordation is subsequently disclosed or consented to.

B. The Enactment of the TCPA and Its Regulations

27, Robocalls Outlawed: Enacted in 1991, the TCPA makes it unlawful “to make any call
(other than a call made for emergency purposes or made with the prior express consent of the
called party) using an automatic telephone dialing system or an artificial or prerecorded voice...
to any telephone number assigned to a... cellular telephone service.” 47 U.S.C. § 227(b)(1).
Calls made by an ATDS or with a prerecorded or artificial voice are referred to as “robocalls” by
the Federal Communications Commission (“FCC”) and herein. Encouraging people to hold
robocallers accountable on behalf on their fellow Americans, the TCPA provides a private cause
of action to persons who receive such calls. 47 U.S.C. § 227(b\(3).

28. Rationale: In enacting the TCPA, Congress found: “Evidence compiled by the
Congress indicates that residential telephone subscribers consider automated or prerecorded
telephone calls, regardless of the content or the initiator of the message, to be a nuisance and an
invasion of privacy.” Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105
Stat. 2394 § 2(10). Congress continued: “Banning such automated or prerecorded telephone calls
to the home, except when the receiving party consents to receiving the call or when such calls are
necessary in an emergency situation affecting the health and safety of the consumer, is the only
effective means of protecting telephone consumers from this nuisance and privacy invasion.” Ja.
§ (12).

29, The TCPA’s sponsor described unwanted robocalls as “the scourge of modern
civilization. They wake us up in the morning; they interrupt our dinner at night; they force the

sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.” 137

Cong. Rec. 30,821 (1991) (statement of Sen. Hollings).
-§-
FIRST AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 
 

bo

oo +1 oF Ww &— WwW

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 17 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 6 of 23

30. Prior Express Written Consent: The FCC has made clear that “prior express written
consent” is required before making telemarketing robocalls to wireless numbers. Specifically, it

ordered:
[A] consumer’s written consent to receive telemarketing robocalls
must be signed and be sufficient to show that the consumer: (1)
received clear and conspicuous disclosure of the consequences of
providing the requested consent, i.e., that the consumer will
receive future calls that deliver prerecorded messages by or on
behalf of a specific seller; and (2) having received this information,
agrees unambiguously to receive such calls at a telephone number
the consumer designates. In addition, the written agreement must
be obtained without requiring, directly or indirectly, that the
agreement be executed as a condition of purchasing any good or
Service.

In the Matter of Rules & Regulations Implementing the Telephone Consumer Protection Act of
199], 27 FCC Red. 1830, 1844 4] 33 (2012) (footnote and internal quotation marks omitted),

31. Do Not Call Registry: Additionally, the TCPA outlaws unsolicited telemarketing
(robocalls or otherwise) to phone numbers on the NONCR. 47 U.S.C. § 227(c); 47 C.F.R. §
64.1200(c)(2). Encouraging people to hold telemarketers accountable on behalf on their fellow
Americans, the TCPA provides a private cause of action to persons who receive such calls. 47
U.S.C. § 227(c)(5).

C. The Worsening Problem of Robocalls and Spam Texts

32. Unfortunately, the problems Congress identified when it enacted the TCPA have only
grown worse in recent years.

33. “Month after month, unwanted [communications], both telemarketing and
informational, top the list of consumer complaints received by the [Federal Communications]
Commission.” Jn re Rules and Regulations Implementing the Telephone Consumer Protection
Act of 1991, 30 FCC Red. 7961, 7991 4 1 (2015).

34. “Robocalls and telemarketing calls are currently the number one source of consumer
complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016),
https://www.fec.gov/news-events/blog/2016/07/22/cutting-robocalls (statement of FCC

Chairman).

he
First AM, COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 
 

Se 8 =) one th e & oR

mmm
Ss  - =-) co tAlUc SelUMGhlUlUN Oe CS

al

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 18 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 7 of 23

35, “The FTC receives more complaints about unwanted calls than all other complaints
combined.” Comment of the Staff of the Federal Trade Commission’s Bureau of Consumer
Protection, /n re Rules and Regulations Implementing the Telephone Consumer Protection Act of
199], Notice of Proposed Rulemaking, CG Docket No. 02-278, at p. 2; FCC 16-57 (June 6,
2016), available at https://www.ftc.gov/system/files/documents/advocacy_documents/comment-
staff-ftc-bureau-consumer-protection-federal-communications-commission-rules-
regulations/ 16061 6robocallscomment.pdf.

36. In 2017, the FTC received 4,501,967 complaints about robocalls, up from 3,401,614
in 2016, Federal Trade Commission, FTC Releases FY 2017 National Do Not Call Registry Data
Book and DNC Mini Site (Dec. 18, 2017), https://www.ftc.gov/news-events/press-
releases/2017/12/ftc-releases-fy-20 1 7-national-do-not-call-registry-data-book-dne.

37. Like most other leading newspapers, The New York Times has been writing and
reporting on the exploding number of robocall complaints filed by consumers with the FTC and
widespread consumer outrage about illegal telemarketing. Gail Collins, Let's Destray Robocalls,
N.Y. Times. (Mar. 1, 2019), https://www.nytimes.com/2019/03/01/opinion/robocall-scams.html;
Tara Siegel Bernard, Yes, /t's Bad. Robocalls, and Their Scams, Are Surging, N.Y. Times (May
6, 2018), https://www.nytimes.com/2018/05/06/your-money/robocalls-rise-illegal.html.

38. An Emmy-winning journalist recently observed: “Everybody is annoyed by robocalls.
Hatred of them might be the only thing that everyone in America agrees on now.” Robocalls,
Last Week Tonight with John Oliver (HBO Mar. 10, 2019), available at
hitps://www.youtube.com/watch?v=FO0iG_POP6M.

39. The harm from of illegal robocalls is “is at least $3 billion per year from lost time
alone.” Babette Bolick & Eric Burger, Beating Back Unwanted Robocalls, FCC (June 5, 2019),
hitps://www.ftc.gov/news-events/blog/20 1 9/06/05/beating-back-unwanted-robocalls (statement
of FCC Chief Economist and FCC Chief Technology Officer).

40. In fact, the harm is much greater than the time lost outright, because “little surges of
the stress hormone cortisol” from interruptions from smartphones result in elevated heart rates,

sweaty hands, tightened muscles, anxiety and distraction, a “switch cost” that weighs on a person
hs
First AM, COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 
16
l7
18
19
20

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 19 of 45
Case 3:19-cv-01608-RS Document36 Filed 06/26/19 Page 8 of 23

even after the interruption ends, reducing his or her efficiency by 40%. Stephanie Stahl, Constant
Interruptions From Smartphone Can Impact Brain Chemistry, Scientists Say, CBS Philly (May
29, 2018), https://philadelphia.cbslocal.com/2018/05/29/scientists-constant-interruptions-
smartphone-impact-braim-chemistry/.

41. Robocalls are overwhelming hospitals and patients, threatening a new kind of health
crisis. Tony Romm, Robocalls Are Overwhelming Hospitals and Patients, Threatening a New
Kind of Health Crisis, Wash. Post (June 17, 2019),
https://www.washingtonpost.com/technology/2019/06/17/robocalls-are-overwhelming-hospitals-
patients-threatening-new-kind-health-crisis/.

D. Sunrun’s Years-Long History of Illegal Robocalls and Telemarketing

42. Sunrun sells goods and services related to solar energy.

43. Some of Sunrun’s marketing strategies involve ATDSs.

44, Some of Sunrun’s marketing strategies involve the use of ATDSs to place
telemarketing phone calls.

45. Sunrun uses Twilio.

46. Sunrun uses CallFire.

47. Sunmun uses Five9.

48. Sunrun uses InContact.

49, Sunrun uses Skype.

50. Sunrun uses Ytel.

51. Sunrun uses equipment that has the capacity—(1) to store numbers to be called or (2)
to produce numbers to be called, using a random or sequential number generator—and to dial
such numbers automatically (even if the system must be tumed on or triggered by a person).

52. Recipients of these outbound calls, including Plaintiffs, did not consent to receive
them.

53. Sunrun’s telemarketing calls were not necessitated by an emergency.

34. Thousands of people have complained to the FCC or FTC about telemarketing by

Sunrun or its affiliates and vendors.

ote
FIRST AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 
 

 

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 20 of 45
Case 3:19-cv-01608-RS Document36 Filed 06/26/19 Page 9 of 23

55. To thwart victims’ efforts to determine who is illegally robocalling them, Sunrun
hides behind aliases such as “Solar America.”

56. Sunrun’s practice is to continuing robocalling people even after they file TCPA
lawsuits against it.

57. Sunrun labels people who complain about its telemarketing “screamers” even if they
don’t scream.

38. According to Sunrun’s former employees, people who receive Sunrun’s telemarketing
are generally annoyed by it and don’t want to buy Sunrun’s products.

59. Sunrun calls numbers on the NDNCR several times a day for weeks at a time despite
do-not-call requests from the people at those very numbers.

60. Sunrun accepts the benefits of its vendors’ illegal telemarketing while knowing that
it’s illegal.

61. Sunrun tries to distance itself from its vendors, calling them “imposters.”

62. Sunrun uses vendors even though they are subjects of FTC enforcement actions for
illegal telemarketing.

63. Violating the TCPA is profitable for Sunrun.

E. Media Mix’s Years-Long History of Illegal Robocalls and Telemarketing

64. Media Mix markets goods and services related to solar energy and sells leads to
companies that sell the same.

65. One of Media Mix’s marketing strategies involves ATDSs.

66. One of Media Mix’s marketing strategies involves the use of ATDSs to place
telemarketing phone calls.

67, Media Mix uses equipment that has the capacity—(1) to store numbers to be called or
(2) to produce numbers to be called, using a random or sequential number generator—and to dial
such numbers automatically (even if the system must be turned on or triggered by a person).

68. Recipients of these outbound calls, including Plaintiff Loftus, did not consent to
receive them.

69. Media Mix’s telemarketing calls were not necessitated by an emergency.
ahs
First Am. COMPL,
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 
 

I

ed

Sh

19

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 21 of 45
Case 3:19-cv-01608-RS Document36 Filed 06/26/19 Page 10 of 23

70, Scores of people have complained to the FCC or FTC about telemarketing by Media
Mix.

71. To thwart victims’ efforts to determine who is illegally robocalling them, Media Mix
hides behind aliases such as “Solar Research Group” and falsely claims not to be making sales
calls.

72. Media Mix calls numbers on the NDNCR.

73. Media Mix has access to the NDNCR but has not downloaded any phone numbers
from it since 2013.

74. Media Mix called at least thousands of phone numbers more than 3 times in a single
day.

75. Media Mix called at least thousands of phone numbers more than 30 times each.

76. Media Mix called at least one number more than 300 times in less than six months.

77. Media Mix called at least one number over 1,000 times in less than one year.

78. Violating the TCPA is profitable for Media Mix.

F. Defendants’ Unsolicited, Automated Telemarketing to Plaintiff Loftus

79. Plaintiff Loftus is, and at all times mentioned herein was, a “person” as defined by
47 U.S.C. § 153(39).

80. He is the user of a phone number that begins “(805) 405” (the “Loftus Phone
Number”). All calls to him referenced herein were to the Loftus Phone Number.

$1. The Loftus Phone Number is assigned to a cellular telephone service.

$2. The Loftus Phone Number has been listed on the NDNCR since 2006.

83. Plaintiff Loftus never consented to receive calls from Sunrun.

#4. He never gave the Loftus Phone Number to Sunrun.

$5. He never did business with Sunrun.

86. Sunrun called the Loftus Phone Number.

$7. Sunrun made telemarketing calls to the Loftus Phone Number,

$8. Sunrun made telemarketing calls to the Loftus Phone Number using an ATDS.

==
First AM. COMBL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 

 
900 == i tn: fe

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 22 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 11 of 23

89. On September 27, 2018, a motion for preliminary approval was filed in Slovin, with a
class period ending on August 31, 2018.

90. Media Mix made unsolicited, automated telemarketing calls to the Loftus Phone
Number on Sunrun’s behalf on at least the following occasions:

a. September 4, 2018

b. September 5, 2018 (twice)
c. September 6, 2018 (twice)
d. September 7, 2018 (twice)
e. January 25, 2019

91. The January 25, 2019, call was answered by Plaintiff Loftus.

92. When he answered, there was a long click and pause, indicating that an ATDS had
been used to dial the call.

93. But Plaintiff Loftus had not consented to receive calls from Media Mix.

94. On information and belief, and based in part on the area code of the caller IDs, the
caller [Ds were spoofed or selected so as to create the false impression that the call was being
dialed by a live person in Plaintiff Loftus’s community rather than a distant computer.

95. During the call, Media Mix transferred Plaintiff Loftus to Sunrun and Sunrun’s goods
and services were promoted.

96. Media Mix recorded a portion of the call without Plaintiff Loftus’s consent.

97. Sunrun recorded a portion of the call without Plaintiff Loftus’s consent.

98, Plaintiff Loftus was not interested in Sunrun’s products.

99. After the January 25, 2019, call, Plaintiff Loftus called Sunrun several times asking
that it stop calling him.

100, Nevertheless, Sunrun called him again, offering its goods and services.

101. The caller IDs that appeared on the calls included (805) 741-1860 and (805) 202-

Ste
First AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-Y GR

 

 
 

fe. tw BS

Li

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 23 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 12 of 23

G.  Sunrun’s Unsolicited, Automated Telemarketing to Plaintiff Sidney Naiman

102. Plaintiff Sidney Naiman is, and at all times mentioned herein was, a “person” as
defined by 47 U.S.C. § 153(39).

103. He is a user of a phone number that begins “(925) 735” (the “Sidney Naiman
Phone Number’). All calls to him referenced herein were to the Sidney Naiman Phone Number.

104. The Sidney Naiman Phone Number is assigned to a cellular telephone service.

105. Plaintiff Sidney Naiman never consented to receive calls from Defendants.

106. He never gave the Sidney Naiman Phone Number to Defendants.

107. Henever did business with Defendants.

108.  Sunrun called the Sidney Naiman Phone Number on March 15, 2019.

109. That call, like others from Sunrun to the Sidney Naiman Phone Number, was
characterized by a distinctive click and pause, indicating that it had been autodialed.

110. Sunrun made telemarketing calls to the Sidney Naiman Phone Number.

111. Sunrun made telemarketing calls to the Sidney Naiman Phone Number using an
ATDS.

112, The caller [Ds that appeared on the foregoing calls to the Sidney Naiman Phone
Number was (925) 247-1615.

113. On information and belief, and based in part on the area code of the caller [Ds, the
caller [Ds were spoofed or selected so as to create the false impression that the call was being
dialed by a live person in Plaintiff Sidney Naiman’s community rather than a distant computer.

114. Plaintiff Sidney Naiman received an e-mail from “Mustafa from Sunrun,”
mustafa.fazlif@isunrun.com.

115. The original complaint in this case included TCPA allegations by Plaintiff Sidney
Naiman and included the first 6 digits of his phone number. (Dkt. No. 1.) It was filed on March
27, 2019. Ud.)

116. Process was served on Sunrun on April 3, 2019. (Dkt. No. 6.)

117. Nevertheless, in the months since, Sunrun has continued to call Plaintiff Sidney

Naiman, at the same phone number, to try to sell him its goods and services.
15s
First AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 
ht Bey had ted

—~J Oo

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 24 of 45
Case 3:19-cv-01608-RS Document36 Filed 06/26/19 Page 13 of 23

118. For example, on May 22, 2019, Sunrun made an autodialed call to Plaintiff
Sidney Naiman.

119. The caller ID showed as (925) 291-9451.

120, Plaintiff Sidney Naiman said not to send him autodialed telemarketing calls.

121. On May 22, 2019, Sunrun sent an email to Plaintiff Sidney Naiman’s email
address.

122. As another example, on May 29, 2019, Sunrun left a message on Plaintiff Sidney
Naiman’s voicemail.

123. The caller ID showed as (530) 410-9794.

124. As another example, later on May 29, 2019, Sunrun called Plaintiff Sidney
Naiman’s phone. The caller ID showed as (530) 410-9794.

H. Sunrun’s Unsolicited, Automated Telemarketing to Plaintiff Louis Naiman

125. Plaintiff Louis Naiman is, and at all times mentioned herein was, a “person” as
defined by 47 U.S.C, § 153(39).

126. He is the user of a phone number that begins “(707) 832” (the “Louis Naiman
Phone Number’). All calls to him referenced herein were to the Louis Naiman Phone Number.

127. The Louis Naiman Phone Number is assigned to a cellular telephone service.

128. The Louis Naiman Phone Number has been listed on the NDNCR since 2015.

129. Plaintiff Louis Naiman never gave the his phone number to Defendants.

130. Plaintiff Louis Naiman never did business with Defendants.

131. Sunrun called the Louis Naiman Phone Number on March 25, 2019,

132. Sunrun used an ATDS to make that call.

133. The caller ID that showed on that call was (707) 244-0518.

134. The purpose of the call was to sell Sunrun’s goods and services.

135. On March 25, 2019, Sunrun sent an email to Plaintiff Louis Naiman’s email

136.  Sunrun called the Louis Naiman Phone Number on May 6, 2019.

137. Sunrun used an ATDS to make that call,
= 13
FIRST AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cev-01608-YGR

 

 
 

aA a Nad beak

= = a ae

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 25 of 45
Case 3:19-cv-O1608-RS Document 36 Filed 06/26/19 Page 14 of 23

138. The caller ID that showed on that call was (707) 247-6959.
139. The purpose of that call was to sell Sunrun’s goods and services.
I. The Invasion of Privacy Caused by Defendants’ Automated Telemarketing

140. Before directing their automated telemarketing to them, Defendants never did
anything to confirm that Plaintiffs had provided prior express written consent to their
telemarketing.

141. Plaintiffs’ attention was caught by the fact that the calls appeared local.

142. Sunrun had and has a pattern and practice of recording calls—even cellular
calls—with Californians without having obtained their consent.

143. Media Mix had and has a pattern and practice of recording calls—even cellular
calls—with Californians without having obtained their consent.

144. The conduct alleged herein:

a. invaded Plaintiffs’ privacy and solitude;
b. was highly offensive to Plaintiffs;

c. interrupted Plaintiffs’ train of thought;
d. wasted Plaintiffs’ time;

e. annoyed Plaintiffs:

f. harassed Plaintiffs; and

consumed the battery life of Plaintiffs’ cellular telephones.

ae

V. WICARIOUS LIABILITY

145. For more than twenty years, the FCC has explained that its “rules generally
establish that the party on whose behalf a solicitation is made bears ultimate responsibility for
any violations.” /n re Rules and Regulations Implementing the Telephone Consumer Protection
Act, 10 FCC Red. 12391, 12397 7 13 (1995).

146. Ina January 4, 2008, ruling, the FCC likewise held that a company on whose
behalf a telephone call is made bears the responsibility for any violations.

147, The FCC has instructed that sellers such as Sunrun may not avoid liability by

outsourcing telemarketing to third parties, such as Media Mix 365:
ots
FIRST AM. COMPL.,
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 
 

La ofa. nd bk

ee: OR se

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 26 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 15 of 23

[A|llowing the seller to avoid potential liability by outsourcing its
telemarketing activities to unsupervised third parties would leave
consumers in many cases without an effective remedy for
telemarketing intrusions. This would particularly be so if the
telemarketers were judgment proof, unidentifiable, or located
outside the United States, as is often the case. Even where third-
party telemarketers are identifiable, solvent, and amenable to
judgment, limiting liability to the telemarketer that physically
places the call would make enforcement in many cases
substantially more expensive and less efficient, since consumers
(or law enforcement agencies) would be required to sue each
marketer separately in order to obtain effective relief. As the FTC
noted, because “sellers may have thousands of ‘independent’
marketers, suing one or a few of them is unlikely to make a
substantive difference for consumer privacy.”

In re DISH Network, LLC, 28 FCC Red. 6574, 6588 § 37 (2013) (footnotes and alteration marks
omitted).

148. On May 9, 2013, the FCC released a Declaratory Ruling holding that a
corporation or other entity that contracts out its telephone marketing “may be held vicariously
liable under federal common law principles of agency for violations of either section 227(b) or
section 227(c) that are committed by third-party telemarketers.” Jed. at 6374 4 1.

149. Sunrun is liable for telemarketing calls physically dialed by Media Mix.

150. Sunrun hired Media Mix to originate new business for Sunrun using
telemarketing calls.

151. Sunrun controls the day-to-day activities of Media Mix’s telemarketing.

152.  Sunrun restricts the geographic location to which its telemarketing vendors,
including Media Mix, can call.

153. Sunnun instructs its telemarketers, including Media Mix, regarding certain
numbers that they should or should not call.

154. Sunrun knew or reasonably should have known that Media Mix was violating the
TCPA on Sunrun’s behalf but Sunrun failed to take effective steps within its power to cause

Media Mix to stop.

Se
FIRST AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 
10)

12
13
14
15

7
18
19

21
22
20

25
26
Zi
28

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 27 of 45
Case 3:19-cv-01608-RS Document36 Filed 06/26/19 Page 16 of 23

155. Any reasonable seller that accepts telemarketing leads from lead generators whose
leads are challenged in TCPA litgation or otherwise would and should investigate to ensure thal
the calls were made in compliance with the TCPA.

156. Media Mix was alleged to have made calls on behalf of Sunrun in Slovin.

157. Last Friday, the FTC alleged that since at least 2015, Media Mix has called
millions of phone numbers on the NDNCR and has repeatedly or continuously called consumers
with the intent of annoying, abusing or harassing them.

158. Sunrun is well aware of Media Mix’s abusive conduct but continues its
relationship with Media Mix.

159. The May 2013 FCC ruling states that called parties may obtain “evidence of these
kinds of relationships... through discovery, if they are not independently privy to such
information.” /@. at 6392-593 4 46. Evidence of circumstances pointing to apparent authority on
behalf of the telemarketer “should be sufficient to place upon the seller the burden of
demonstrating that a reasonable consumer would not sensibly assume that the telemarketer was
acting as the seller’s authorized agent.” Jd. at 6593 9 46.

VI. CLASS ACTION ALLEGATIONS

160. Cellular Telephone Class Definition: Pursuant to Federal Rules of Civil Procedure

 

23(b)(2) and (b)(3), Plaintiffs bring this case on behalf of three classes (each a “Class,”
collectively, the “Classes”). The first Class (the “Cellular Telephone Class”) is defined as
follows: All persons in the United States to whom:

a. Defendants, any of them and/or a third party acting on any of their behalf
made a call or sent a text message;

b, to a cellular telephone number;

c. using an ATDS or an artificial or prerecorded voice;

d. between September 1, 2018, and the first day of trial.

161. Plaintiffs are members and proposed representatives of the Cellular Telephone

Class.

-16-
FIRST AM. COMPL.
Loftus v. Sunrun Inec., Case No. 3:19-cv-01608-YGR

 

 

 
BR ow of

Li

10
11
12

14
15
16
17
18
ig
20
21
22
23
24

26
2]
28

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 28 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 17 of 23

162. DNC Class Definition: The second Class (the “DNC Class”) is defined as follows:
All persons in the United States to whom:

a. Defendants, any of them and/or a third party acting on any of their behalf
made a call or sent a text message;

b. to a residential (including residential cellular) telephone number listed on
the NDNCR for at least 31 days before at least two of such communications in a 12-month
period;

¢: for telemarketing purposes;

d. between September 1, 2018, and the first day of trial.

163. Plaintiffs Loftus is a member and proposed representative of the DNC Class.

164. California Cellular Telephone Class Definition: The third Class (the “California
Cellular Telephone Class”) is defined as follows: All persons in California with whom:

a. Defendants, any of them and/or a third party acting on any of their behalf
participated in a phone call;

b. while the person was on a cellular telephone;

ci. between June 26, 2018, and the first day of trial.

165. Exclusions: Excluded from the Classes are Defendants, any entity in which
Defendants (or any of them) have a controlling interest or that has a controlling interest in
Defendants (or any of them), Defendants’ legal representatives, assignees, and successors, the
judges to whom this case is assigned and the employees and immediate family members of all of
the foregoing.

166. Numerosity: The Classes are so numerous that joinder of all their members is
impracticable.

167. Sunrun is among the largest solar energy companies in the United States.

168, Sunrun is publicly traded.

169. Sending a robotext or placing a robocall costs less than one cent.

170. Therefore, Defendants could afford to, and did, send millions of robocalls.

ae
First AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 

 

 

 
 

—

Oo wo SH Mw B&B WwW by

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 29 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 18 of 23

171. Commonality: There are many questions of law and fact common to Plaintiffs and
members of their respective Classes. Indeed, the very feature that makes Defendants’ conduct so
annoying—its automated nature—makes this dispute amenable to classwide resolution. These
common questions of law and fact include, but are not limited to, the following:

a. whether the calls were dialed en masse by ATDSs;

b. whether Defendants’ desire to sell solar goods and services constitutes an
“emergency” within the meaning of the TCPA;

c. whether Defendants are in the United States;

d. whether Defendants had a pattern and practice of failing to obtain prior
express written consent from people to whom they directed telemarketing;

e whether Defendants had a pattern and practice of recording parts of
cellular communications without having obtained the consent of all parties;

e whether Defendants had a pattern and practice of failing to remove
cellular telephone numbers from their telemarketing lists;

g. whether Defendants had a pattern and practice of failing to remove
numbers on the NDNCR from their telemarketing lists;

h. whether Defendants’ violations of the TCPA were knowing or willful; and

i. whether Defendants should be enjoined from continuing to robocall and
telemarket to people in violation of the TCPA and from continuing to record cellular
communications in violation of CIPA.

172. Typicality: Plaintiffs’ claims are typical of the claims of the Classes. Plaintiffs’
claims and those of the Classes arise out of the same course of conduct by Defendants and are
based on the same legal and remedial theories.

173. Adequacy: Plainuffs will fairly and adequately protect the interests of the Classes.
Plaintiffs have retained competent and capable counsel experienced in TCPA class action
litigation. Plaintiffs and their counsel are committed to prosecuting this action vigorously on
behalf of the Classes and have the financial resources to do so. The interests of Plaintiffs and

their counsel are aligned with those of the proposed Classes.
eh
First AM, COMPL.
Loftus v. Sunrun Inc., Case No, 3:19-cv-01608-¥GR

 

 

 
ee

a

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 30 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 19 of 23

174. Superiority: The common issues arising from this conduct that affect Plaintiffs
and members of the Classes predominate over any individual issues, making a class action the
superior means of resolution. Adjudication of these common issues in a single action has
important advantages, mcluding judicial economy, efficiency for Class members and classwide
res judicata for Defendants. Classwide relief is essential to compel Defendants to comply with
the TCPA.

a. Control: The interest of individual members of the Classes in individually
controlling the prosecution of separate claims against Defendants is small because the damages
in an individual action (up to $1,500 per TCPA violation, and $5,000 per CIPA violation) are
dwarfed by the cost of prosecution.

b. Forum: The forum is a desirable, efficient location in which to resolve the
dispute because Sunrun is headquartered in it and the Court is already familiar with many of the
key issues from Slovin v. Sunrun, dne., Case No. 4:15-cv-05340-YGR,

c. Difficulties: No significant difficulty is anticipated in the management of
this case as a class action. Management of the claims at issue is likely to present significantly
fewer difficulties than are presented in many class actions because the calls at Issue are
automated (and thus highly uniform) and because the TCPA and CIPA articulate bright-line
standards for liability and damages.

175. Appropriateness: Defendants have acted on grounds generally applicable to the
Classes, thereby making final injunctive relief and corresponding declaratory relief with respect
to the Classes appropriate on a classwide basis.

VIL = FIRST CLAIM FOR RELIEF

(Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227(b)(1)—Robocalling)
On Behalf of Plaintiffs and the Cellular Telephone Class
Against All Defendants

176. Plaintiffs reallege and incorporate by reference each and every allegation set forth
in the preceding paragraphs.
177. Defendants and/or their affiliates or agents violated the TCPA, 47 U.S.C. §

227(b)(1), by placing non-emergency calls to the cellular telephone numbers of Plaintiffs and

way
First AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 

 
bo

eth nabs

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 31 of 45
Case 3:19-cv-01608-RS Document36 Filed 06/26/19 Page 20 of 23

members of the Cellular Telephone Class using an ATDS and/or artificial or prerecorded voice
without prior express written consent.

178. Plaintiffs and members of that Class are entitled to an award of $500 in damages
for each such viclation. 47 U.S.C. § 227(b)(3)(B).

179. Plaintiffs and members of that Class are also entitled to and do seek an injunction
prohibiting Defendants and/or their affiliates and agents from violating the TCPA, 47 U.S.C. §
227(b)(1), by placing non-emergency calls (including text messages) to any cellular telephone
number using an ATDS and/or artificial or prerecorded voice without prior express written
consent.

Vill. SECOND CLAIM FOR RELIEF

(Knowing and/or Willful Violations of the Telephone Consumer Protection Act, 47 U.S.C. §
227(b)(1)—Robocalling)
On Behalf of Plaintiffs and the Cellular Telephone Class
Against All Defendants

180. Plaintiffs reallege and incorporate by reference each and every allegation set forth
in the preceding paragraphs.

181. Defendants and/or their affiliates or agents knowingly and/or willfully violated
the TCPA, 47 U.S.C. § 227(b)(1), by placing non-emergency calls to the cellular telephone
numbers of Plaintiffs and members of the Cellular Telephone Class using an ATDS and/or
artificial or prerecorded voice without prior express written consent.

182. Plaintiffs and members of that Class are entitled to an award of up to $1,500 in
damages for each such knowing and/or willful violation, 47 U.S.C. § 227(b)(3).

IX. THIRD CLAIM FOR RELIEF

(Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227(c}—Telemarketing)
On Behalf of Plaintiff Loftus and the DNC Class
Against All Defendants

183. Plaintiff Loftus realleges and incorporates by reference each and every allegation
set forth in the preceding paragraphs.

184. Defendants and/or their affiliates or agents violated the TCPA, 47 U.S.C. §
227(c); 47 CLFLR. § 64.1200(c)(2), by placing multiple unsolicited telemarketing calls within a

=O)
First AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 

 
 

 

A

f

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 32 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 21 of 23

12-month period to the residential (including residential cellular) telephone numbers of Plaintiff
Loftus and members of the DNC Class even though those numbers had been listed on the
NDNCR for at least 3] days.

185. Plaintiff Loftus and members of that Class seek an award of $500 in damages for
each such violation. 47 U.S.C. § 227(c\(S\B).

186. Plaintiff Loftus and members of that Class are also entitled to and do seek an
injunction prohibiting Defendants and/or their affiliates and agents from violating the TCPA, 47
U.S.C, § 227(c); 47 C.F.R. § 64.1200(c¢)(2), by placing unsolicited telemarketing calls (including
text messages) to any telephone numbers listed on the NDONCR for at least 31 days.

X. FOURTH CLAIM FOR RELIEF

(Knowing and/or Willful Violations of the Telephone Consumer Protection Act, 47 U.S.C. §
227(c)}—Telemarketing)
On Behalf of Plaintiff Loftus and the DNC Class
Against All Defendants

187. Plaintiff Loftus realleges and incorporates by reference each and every allegation
set forth in the preceding paragraphs.

188. Defendants and/or their affiliates or agents knowingly and/or willfully violated
the TCPA, 47 U.S.C. § 227(c); 47 C_F.R. § 64.1200(c)(2), by placing multiple unsolicited
telemarketing calls within a 12-month period to the residential (including residential cellular)
telephone numbers of Plaintiff Loftus and members of the DNC Class even though those
numbers had been listed on the NONCR for at least 31 days.

189. Plaintiff Loftus and members of that Class are entitled to and seek an award of up
to $1,500 in damages for each such violation. 47 U.S.C. § 227(c)(5).

XI. FIFTH CLAIM FOR RELIEF

(Violations of the California Invasion of Privacy Act, Cal. Penal Code § 632.7—
Eavesdropping)
On Behalf of Plaintiff Loftus and the California Cellular Telephone Class
Against All Defendants

190. Plaintiff Loftus realleges and incorporates by reference each and every allegation

set forth in the preceding paragraphs.

ark
First AM. COMPL.
Loftus v. Sunrun Ine., Case No. 3:19-cv-01608-YGR

 

 
ey CR Re a

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 33 of 45
Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 22 of 23

191. Defendants and/or their affiliates or agents violated CIPA, Cal. Penal Code §
632.7, by recording cellular telephone calls with Plaintiff Loftus and members of the California
Cellular Telephone Class without their consent.

192. Plaintiff Loftus and members of that Class are entitled to and seek an award of
$5,000 in damages for each such violation.

193. Plaintiff Loftus and members of that Class also seek an injunction prohibiting
Defendants and/or their affiliates and agents from violating CIPA, Cal. Penal Code § 632.7, by
recording cellular telephone calls with Californians without their consent.

XII, PRAYER FOR RELIEF
WHEREFORE, Plaintiffs, on their own behalf and on behalf of all members of the

Classes, pray for judgment against Defendants as follows:

A. Certification of the proposed Classes;

B. Appointment of Plaintiffs as representatives of their respective Classes;

C Appointment of the undersigned counsel as counsel for the Classes;

D. A declaration that actions complained of herein violate the TCPA and CIPA;

ele An order enjoining Defendants and their affiliates, agents and related entities from

engaging In the conduct set forth herein;
F, An award to Plaintiffs and the Classes of damages, as allowed by law;
G. An award to Plaintiffs and the Classes of costs and attorneys’ fees, as allowed by

law, equity and/or California Code of Civil Procedure section 1021.5;

H. Leave to amend this complaint to conform to the evidence presented at trial; and
E. Orders granting such other and further relief as the Court deems necessary, just,
and proper.

XII. DEMAND FOR JURY
Plaintiffs demand a trial by jury for all issues so triable.
XIV. SIGNATURE ATTESTATION
The CM/ECF user filing this paper attests that concurrence in its filing has been obtained

from each of its other signatories.

=99 -
FIRST AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cev-01608-YGR

 

 

 
Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 34 of 45

’ Case 3:19-cv-01608-RS Document 36 Filed 06/26/19 Page 23 of 23
I
2 RESPECTFULLY SUBMITTED AND DATED this 26th day of June, 2019.
3
4 By: /s/ Jon B. Fougner
5 Jon B, Fougner
6 Anthony I. Paronich, Pro Hac Vice
anthony(@paronichlaw.com
7 PARONICH LAW, P.C.
350 Lincoln Street, Suite 2400
8 Hingham, Massachusetts 02043
9 Telephone: (617) 738-7080
Facsimile: (617) 830-0327
10
Edward A. Broderick, Pro Hac Vice
2 Forthcoming
12 ted@broderick-law.com
BRODERICK LAW, P.C.
13 99 High Street, Suite 304
Boston, Massachusetts 02110
4 Telephone: (617) 738-7080
15 Facsimile: (617) 830-0327
16 Matthew P. McCue, Pro Hae Vice
mmecue@massattorneys.net
7 THE LAW OFFICE OF MATTHEW P. McCUE
18 | South Avenue, Suite 3
Natick, Massachusetts 01760
19 Telephone: (508) 655-1415
“4 Facsimile: (508) 319-3077
>| Andrew W. Heidarpour, Pro Hac Vice
aheidarpour@hifirm.com
22 HEIDARPOUR LAW FIRM, PPC
1300 Pennsylvania Avenue NW, 190-318
23 Washington, DC 20004
4 Telephone: (202) 234-2727
25 Attorneys for Plaintiffs William Loftus, Sidney
Naiman, Louis Naiman and the Proposed
26 Classes
27
28
= 9F'=
First AM. COMPL.
Loftus v. Sunrun Inc., Case No. 3:19-cv-01608-YGR

 

 

 

 
 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 35 of 45

EXHIBIT B

 

 
 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 36 of 45

AQ SSB (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

 

Northern District of Califomia

WILLIAM LOFTUS, et. al.

Plaintiff
Vi

 

Civil Action No. 3:19-v-1608-RS

SUNRUN, INGC., et. al.
Defendant

Se ee ee

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Resource Marketing Corp., 800 Route 146, Suite 175, Clifton Park, New York 12065

(Name of person ta whom this swhpoena ts directed)

v4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See the Attached Schedule A.

Place: DIRECTLY TO THE UNDERSIGNED COUNSEL | Date and Time:
ELECTRONICALLY or to Lighting Legal, Albany, NY | 14 days after receipt.
12270

0 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 44(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (¢), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: _ 08/06/2019

CLERK OF COURT
OR
fs Anthony |. Paronich
Signature of Clerk or Depury Clerk Alforney's signature

 

 

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff , who issues or requests this subpoena, are:

Paronich Law, P.C., 350 Lincoln St., Suite 2400, Hingham, MA 02043, anthony@paronichlaw.com, (508) 221-1510

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

 

 
 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 37 of 45

AQ 888 (Rev. 02/14) Subpoena to Produce Documents, Information, or Obyects or to Permit Inspection of Premises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (2) (Effective 12/1/13)

(c) Place of Compliance.

(1) Fora Trial, Hearing, or Deposition. A subpocna may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transects business in person: or
(B) within the state where the person resides, is employed, of regularly
transacts business in person, if the person
(i) 15 a party or a party’s officer, or
(it) & commanded to attend a trial and would not incur substantial
expense.

(2) Fer Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 1(4) miles of where the person resides, 15
employed, or regularly transacts business in person: and

(B) inspection of premises ai the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(Ll) Avoiding Undve Burden or Expense; Sanctions. A party or attomey
responsible for issuing and serving a subpoena must take reasonable steps
io avoid imposing undue burden or expense ona person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost ceamings and reasonable attomey’s fees—on a party or attomey who
fails to comply.

(2) Command to Preduce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, clectronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, of trial.

(B) Olyectioens. A person commanded to produce documents or tangible
things of to penmut inspection may serve on the party or attomey designated
in the subpoena a written objection to imspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. [fan objection & made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production of inspection.

(ii) These acts may be required only a3 directed in the order, and the
onder must protect a person who 1 neither a party nora party's officer from
significant expense resulling from compliance.

(3) Guaxhing or Modifying a Subpoena.
(A) When Required On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:
(i) fails to allow a reasonable time to comply:
(ii) requires a person to comply beyond the geographical limits
specified m Rule 43(c),
(iit) requires disclosure of privileged of other protected matter, ifno
exception or waiver applies; or
(iv) subjects a person to undue burden
(B) When Permitted’ To protect a person subject to or affected by a
subpoena, the court for the district where compliance 1s required may, on
motion, quash or modify the subpoena if it requires:
(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ti) disclosing an unretained expert's opinion or information that does
not describe specific occurrences im dispute and results from the expert's
study that was mot requested by a parry

(C) Specifving Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or produciion under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without unduc hardship: and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e} Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand,

(B) Form jor Producing Electronically Stored Information Not Specified.
Ifa subpocna does not specify a form for producing electronically stored
information, the person responding must produce it ma form or forms in
which it is ordinarily maintained of in a reasonably usable form or forms

(C) Electronically Stored Information Produced in Onfy One Farm. The
person responding need not produce the same electronically stored
information in more than one torm

(D) Ingecessible Electronically Stored Information. The person
tesponding need not provide discovery of electronically stored information
from sources thal the person wentifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost If that showing 15
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
2M(bK2\C), The court may specify conditions for the discovery.

(2) Clatming Privilege or Protection.

(A) Jajermation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ti) desenbe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information iself
privileged or protected, will enable the panties to assess the claim.

(B) /nformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it After being
notified, a party must prompily return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim ts resolved: must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the qourt for the district where
compliance is required for a determination of the claim, The person who
produced the information must preserve the information until the claim is
resolved.

(2) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing courl-—may hold in contempt a person
who, having been served, fails withoul adequate excuse to obey the
subpoena or an order related to it

 

 

For access to subpoena matenals, sec Fed. RB. Civ, P. 45(a) Committee Note (2013)

 

 
 

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 38 of 45

SCHEDULE A

INSTRUCTIONS

1. You are required to search not only for hard copy documents, but for electronically
generated, maintained or stored information, including data that exist on your computers’ hard
drives. on computer servers to which you have access, in email accounts, in text messaging
accounts, and all other places in which responsive electronic data may be stored.

2. Where possible, all electronically generated, maintained or stored information should be
produced in its native format and in a format compatible to litigation-support databases and
review systems. Where possible, such documents should contain searchable text and searchable
metadata in a load file format. File fidelity and resolution should not be downgraded; for
instance, electronic files should not be printed and then scanned.

DEFINITIONS
l. When used in these Requests, “Defendant” means Sunrun Inc., including any
subsidiaries or affiliated enterprises, and its officers, directors and employees.
zy When used in these Requests, “you” or “your” (or synonyms thereof) means
Resource Marketing Corp., 800 Route 146, Suite 175, Clifton Park, New York 12065, including
any subsidiaries or affiliated enterprises, and its officers, directors and employees.
REQUESTS
Request No. 1: All documents reflecting any call (including attempted call) made by
you for the Defendant, or to generate leads for Defendant (even if Defendant was not the
exclusive buyer or beneficiary of said leads), or that could have generated a lead for the
Defendant, since September 1, 2018. A complete answer will include at least the following:
a. Identifying information for the person you were trying to reach (e.g., name,
business name, address, email, phone number);
b. Information for the calls themselves, including the phone number called, the date
and time of the call and the result of the call (e.g., no answer, message left, “spoke

with John Doe and updated business data,” etc.);

336334

 
 

 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 39 of 45

¢, All responses to the call, whether by live voice, IVR, SMS or otherwise;

d. Information identifying the dialer and equipment used, including identification of
the equipment and software used to make the call and any third party involved
(e.g., Guaranteed Contacts, Aspect, Avaya, Soundbite, Five9, Vicidial, Lead
Science, Ytel), the location for call origination, the dialer and the dialer’s
capacities; and

e. Any documents showing the prior express consent of the called party to be called.

Request No. 2:A/l correspondence, manuals and ES] regarding the capacity of the
dialing system used to transmit outbound telephone calls identified in response to Request No. |.

Request No. 3: Documents that identify any recorded message (including but not limited
to the audio files of any such messages), the dialing mode or option the dialing system was in
when it made each of the calls identified in response to Request No. |.

Request No. 4: All documents and communications reflecting your process for obtaining
phone numbers to (1) sell to Defendant or (2) call in order to transfer a call, lead or prospect to
Defendant.

Request No. 5: To the extent you claim that your company obtained permission for
automated calls concerning Defendant, produce all documents that identify:

A. Any signed writings evidencing that permission:

B. As it relates to any website visits that you assert are being used in place of

signed writings:

i. All documents that evidence a clear and conspicuous statement
that informed consumers of their right to withdraw their consent to receive
telemarketing calls;
ii. All documents that evidence a clear and conspicuous statement
that informed consumers of the procedures they must use to withdraw
consent, and the procedures they may use to update their contact
information that was used as a basis for any alleged consent to make

telemarketing calls to them.

 
Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 40 of 45

Request No. 6: To the extent you claim that your company obtained permission for
automated calls concerning Defendant via websites:

A. Produce documents that identify those website(s) and the specific page(s)
on those website(s) that you claim constitute consent or permission.

B. For any website identified in response to the prior request, produce all
access, server and error logs and security and fraud alerts during the period you claim visits to
that website constituted consent or permission to contact any putative class member with
telemarketing calls.

Cc. For any website identified in response to the prior request, produce all
architectural diagrams, wireframes and application mockups.

D. Produce all documents that identify the affiliate(s) compensated directly or
indirectly by you for each purportedly consenting consumer.

E. Produce all documents that identify the referring URL from which each
purportedly consenting consumer came to your website.

et Produce all documents that identify any vendor or company used for any
website responsive to these requests that is used by that website or its owner or operator for
visitor traffic reporting. This includes but is not limited to any SEO or internet marketing
consultants.

D. Produce all documents that identify the bandwidth usage for any website
responsive to these requests during the during the period you claim visits to or actions on that
website constituted consent or permission to contact any putative class member with
telemarketing calls.

Es: Produce documents that identify the website host(s) for any website
responsive any of the foregoing and the dates each host was active for each respective website.

F. If any documents responsive to the requests in this Schedule A are in the

hands of third parties, produce documents that identify those third parties

aed

 
 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 41 of 45

Request No. 7: All documents relating to legal demand letters, informal complaints,
formal lawsuits, and all government enforcement actions or investigations sent to you in any way
relating to allegations of unlawful telemarketing during the period beginning four years before
the filing of the original complaint in this matter and continuing to the present. This includes all

complaints, as well as all responses to and investigations into the same.
Request No. 8: All documents relating to the plaintiffs in this case, or either of them.
Request No. 9: All internal communications, including emails, slideshows, word
processing documents, text messages, calendar entries, meeting notes, voicemails and Skype

logs, concerning Defendant.

Request No. 10: Communications with any third party concerning the litigation
captioned on the subpoena.

 
Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 42 of 45

EXHIBIT C

 
 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 43 of 45

UNITED STATES DISTRICT COURT FOR THE NORTHERN | [
DISTRICT OF CALIFORNIA :

AFFIDAVIT OF SERVICE #157999=
Civil Action no :3:29-ev-1608-RS

 

 

Piaintif fis): WILLIAM LOFTUS, ET AL. |

Defendant(s): SUNRUN, INC., ET AL

 

STATE OF NEW YORE
COUNTY OF ALBANY 55.:

Corey Doyle. the undersigned, being duly sworn, deposes and Says: that the deponent is not a party to this action. is
over 18 years of age and resides in the STATE OF NEW YORK.

On 08/07/2019 at 10:24 AM, deponent served the within SUBPOENA TO PRODUCE DOCUMENTS,

5

INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION,
FEDERAL RULE OF CIVIL PROCEDURE 45 (C), (D), (E), AND (G) (EFECTIVE 12/1/13) AND SCHEDULE
A on RESOURCE MARKETING CORP. at 800 Route 146, Suite 175, Clifton Park, NY 12065 in the manner
indicated below:

By delivering a mus copy of each to and leaving with MARK HICKEY. PARTNER who stated he/she is duly
authorized to accept lezal documents.

4 description of the RESPONDENT, or other person served on behalf of the RESPONDENT js as follows:

\Color of hair_jAge(Anprox} |Heigpt( Approx) Weight( Approx}
Brown 35-43 Fi] Gin 1é5 ths

ibed before me on 08/08/2019 i CZ. E
Corey Doyle “7

 

 

  
 
 

 

 

 

 

 

 

 

 

 

 

 

Sw aby
rt Lightning Legal Services, LLC
J P.O. Box 9132
& bis Albany, NY 12209
Le 518.463.1049
otury Buty
\ Paronich Law. P.C.
yo et Leary 350 Lincoln Street, Suite 2490
\ Xen Punic sre by Hingham, MA 02043
Chaliiedt in Schenecnaciy Conny =
Commission expires 1206/2001 \
1} Kristen Somih
Nomry Public, State of NY
No.DISMG3ST9RS —*

Owalifed in Albany Conary
Commission expires (4/0 1/202]

[ | Kerry Gane

Nogary Publ, Stace of NY

No. O1GUS038710

Qualified in Albany Couriry
Commission expires (20G/2023
 

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 44 of 45

EXHIBIT 2

 
 

=

Case 1:19-mc-00046-LEK-DJS Document 1 Filed 09/12/19 Page 45 of 45

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

WILLIAM LOFTUS, SIDNEY NAIMAN and
LOUIS NAIMAN, individually and on behalf
of all others similarly situated,

Petitioners,

RESOURCE MARKETING CORP.

Respondent.

 

 

Case No.

[PROPOSED ORDER] ON PETITIONER’S MOTION FOR ORDER TO REQUIRE
RESPONDENT RESOURCE MARKETING CORP. TO PRODUCE DOCUMENTS
PURSUANT TO SUBPOENA AND INCORPORATED MEMORANDUM OF LAW

Having reviewed the petitioners’ motion and supporting documentation thereto, this

Court GRANTS the petitioners’ motion and ORDERS Resource Marketing Corp. to provide all

requested documents within 14 days after this Order and advises Resource Marketing Corp. that

its failure to comply may result in the imposition of sanctions pursuant to Fed. R. Civ. P. 45(2).

DATED:

 

United States District Judge

 
